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Office of the Chancellor One University Place

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November 8, 2023

Dr. Brian Salvatore

College of Arts and Sciences
Louisiana State University Shreveport
One University Place

Shreveport, LA

RE: Discipline Pursuant to LSUS Policy Statement 2.19.02

Dear Dr. Salvatore:

With a copy to President William F. Tate IV, I am recommending commencement of faculty due
process under Louisiana State University Shreveport (“LSUS”) Policy Statement 2.19.02 against
you for engaging in misconduct egregious enough to warrant discipline. Over the last several years,
you have made repeated false public statements about LSUS and LSUS employees, including
statements alleging illegal activity. In addition, you have engaged in a persistent pattern. of
vindictive, bullying and harassing conduct against other members of the university community,
creating a toxic and hostile work environment. During this time, you have received three official
letters of reprimand and have also been sanctioned by the Faculty Senate. For all of these reasons,
I believe that your actions warrant termination of your employment from LSUS. Effective
immediately, you are placed on administrative leave with pay. Until further notice, you are
prohibited from being on campus without the express permission of Human Resources and your
access to all LSUS computing resources, including email is hereby suspended.

The following is a list of charges of which you are being notified pursuant to Section IV of
LSUS Policy Statement 2.19.02:

1. In Spring 2021, Dr. Salvatore alleged improprieties by LSUS concerning removal of chemical
waste from the Science Building. This was investigated by the LSU Office of Internal Audit.
The allegations were found to be unsubstantiated with no further investigation warranted.

2. Also in Spring 2021, Dr. Salvatore alleged that he had several photographs of a deceased
former employee that he claimed were stolen from his Apple iCloud account. He accused the
LSUS administration as being behind the theft. At the time, then-Chancellor Larry Clark
directed LSUS Police Chief Donald Wray to conduct a criminal investigation. The criminal
investigation (which included a forensic analysis of Dr. Salvatore’s cell phone) found this
allegation to be unsubstantiated. The case was closed with no further investigation warranted.

3. Also in Spring 2021, Dr. Salvatore filed a grievance in which he accused then-Chancellor Clark
of making inappropriate sexual advances toward Dr. Elahe Mahdavian (Dr. Salvatore’s wife).
This allegation was investigated by several different bodies: the LSUS Title IX Office, a
faculty committee and Mr. Carranza Pryor, Chief Counsel for LSU Health Shreveport. No

EXHIBIT

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evidence was found to substantiate the allegation. However, Dr. Salvatore has continued to
publicly make the allegation.1

4, In March 2022, Dr. Salvatore alleged that a workplace injury to his administrative assistant
was caused by William Wolfe, Associate Vice Chancellor HR, Purchasing, and Risk
Management. The allegation stated that Mr. Wolfe had imposed a very short deadline to
submit a property inventory and that Mr. Wolfe had put pressure on his assistant causing her
to injure herself in a lab. The evidence showed that Mr. Wolfe had never communicated with
Dr. Salvatore’s assistant concerning the inventory. One month was permitted for ail
departments to conduct the inventory. When asked for evidence to substantiate his allegation,
Dr. Salvatore was non-responsive.

5. In November 2022, after he was not recommended for a sabbatical by a faculty committee, Dr.
Salvatore sent a series of scathing emails to the Selection Committee Chair (Dr. Binshan Lin,
an eminent scholar} calling him incompetent, demanding that he should resign, and questioning
the integrity of the Selection Committee. Dr. Salvatore’s actions were subsequently discussed
in a special meeting of the LSUS Faculty Senate, and ultimately resulted in his formal censure
by the Senate.

6. In November 2022, at the beginning of a class session, Dr. Salvatore made the following
announcement to the students in his class:

“So, this is my twentieth year at LSUS and it is very likely my last. Of course, my
wife will be leaving too. Dr. Gustavson will be leaving as well. This administration,
beginning at the top with Larry Clark, who himself is in his terminal year, has
damaged the science program significantly. Throwing money into a cyber
collaboratory that barely gets used... millions of dollars while neglecting this
department... and acting like a tyrant. I know two faculty who were at the point of
suicide from the treatment from Larry Clark. So, there’s EEOC cases filed against
him and everything.” So, I’ve pretty much had it, and as it stands right now, I have
more dignity than to teach for people like this, includmg our Dean...”

Because of the seriousness of such an allegation, Dr. Salvatore was immediately asked to meet
with both his department Chair and his Dean. During this meeting, he was asked to name the
faculty members he was referring to. He did so reluctantly, but continued by saying he did not
believe these individuals were contemplating suicide. In that meeting, Dr. Salvatore again
accused Chancellor Clark of inappropriate behavior with his wife.

' Ym January 2019, Chancellor Clark filed a complaint against Dr. Elahe Mahdavian (wife of Dr. Brian
Salvatore) for inappropriate behavior with him. This behavior included sending unsolicited text messages,
uninvited attempts to come to Dr. Clark’s residence, and coming to his office and attempting to shut the
door without an appointment. Chancellor Clark provided significant documentation which included texts,
email and directives to her to cease the behavior. LSUS Human Resources Management investigated and
substantiated Chancellor Clark’s allegations. Moreover, Dr: Mahdavian admitted to her inappropriate
behavior, in writing, and apologized to Chancellor Clark. Despite her admission, Dr. Salvatore continued
to spread the false allegation that Chancellor Clark acted inappropriately with Dr. Mahdavian, when, in
fact, it was the other way around.

? Although there had been two EEOC complaints filed — one by Dr. Elahe Mahdavian and one by Dr. Peter
Siska — both had been dismissed at this time with no further action. Neither was substantiated and the
time for a lawsuit has expired. Thus, it was false and misleading for Dr. Salvatore to advise his students
that Chancellor Clark had two EEOC complaints against him at that time. .
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7. In December 2022, following a negative review of a grievance filed by Dr. Salvatore by a
faculty panel, Dr. Salvatore took it upon himself to contact editors at the internationally
recognized: Oxford University Press (OUP), reporting plagiarism allegedly committed by Dr.
Alex Mikaberidze, a highly published and internationally renowned member of the LSUS
History faculty who served on the faculty panel. OUP conducted an investigation of Dr.
Salvatore’s claims, only to determine that no plagiarism had taken place, Given that History is
well outside of Dr. Salvatore’s own discipline of Chemistry, it is quite apparent that Dr.
Salvatore’s efforts were intended solely to tamish the reputation of a prominent colleague, in
apparent retaliation for Dr. Mikaberidze’s service on the grievance committee that found
against Dr. Salvatore. Dr. Salvatore also pursued the same claims of plagiarism with Red River
Radio, which paused Dr. Mikaberidze’s Red River Radio show until the allegations were

disproven.

8. March 23, 2023: Dr. Salvatore publicly posted the following on his social media:

9:19 a o>

< Brian Salvatore o_
x 4h-@

Look what LSUS Chancellor Larry Clark and his
administration are doing to the people in Grant
Parish by sending the university’s hazardous
waste chemicals to be open burned and open
detonated by Clean Harbors Colfax. The .
chemicals are being burned adjacent to an African
American enclave whose residents are
decendents of slaves. The LSUS administration is
new designating Business faculty members as
“sclentists" and failing to heed the warnings from
chemists and biologists to stop doing this.

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On March 22, 2023, Dr. Salvatore then forwarded a screenshot of his post to the LSU President
and others. Dr. Salvatore’s claims are unsubstantiated and defamatory. In fact, it has been
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10.

11.

12,

confirmed that no LSUS hazardous waste has been disposed of by the open-bum method. In
addition, no LSUS hazardous waste has ever been sent to Clean Harbors Colfax or any Clean
Harbors location in Louisiana. On April 4, 2023, Mr. Blake Rodgers, LSUS Director of
Environmental Health & Safety, informed Dr. Salvatore by email that he was incorrect
concerning his Colfax post. Dr. Salvatore chase to neither correct nor remove his post. On May
17, 2023, Chancellor Clark sent an email message to Dr. Salvatore to inform him that he had °
written a Letter of Reprimand to Dr. Salvatore’s LSUS personnel file. Chancellor Clark
directed Dr. Salvatore to note his instruction to him within the letter that he correct or remove
the Colfax post. As of this date, Dr. Salvatore has neither corrected nor removed the post.
Finally, when Dr. Salvatore met with me on August 1, 2023, he repeated these same false
claims regarding hazardous waste. This behavior demonstrates his reckless disregard for the
truth, as well as his insubordination and contempt for authority.

In September 2023, in public comments he made at the Shreveport Mayor’s Capital
Improvement Committee (chaired by Chancellor Emeritus Larry Clark), Dr. Saivatore claimed
that an LSUS faculty member (unnamed, but clearly referrmg to Dr. Alex Mikaberidze)
“committed plagiarism in speaking about the Noel Collection in public radio broadcasts”, He
also made vague, yet serious charges against Chancellor Emeritus Clark, stating that he had
“caused tremendous psychological distress to several faculty and staff on the LSUS campus,
often saying things knowing full well that he was either not telling the truth or else he knew
far more to the contrary than he let on at the time”. Such incendiary public statements, made
with reckless disregard for the truth, as well as the AAUP statement on academic freedom,
damage the reputation of LSUS, as well as the individuals referred to in his diatribe.

In September 2023, Dr. Salvatore called Staff Senate President Matthew Culpepper to warn
him that he was violating the Louisiana Open Meetings law. Mr. Culpepper had been acting
under the advice of LSU Legal Counsel at the time. Mr. Culpepper then registered a complaint
with the LSUS Human Resources Office, noting that on the call, Dr. Salvatore became
increasingly accusatory and hostile, before he finally hung up on Dr. Salvatore. Mr. Culpepper
informed HR that “the prospect of Dr. Salvatore threatening him in the future was making him
consider resignation from LSUS”. This constitutes bullying of Mr. Culpepper by Dr. Salvatore.

On October 2, 2023, Dr. Salvatore copied Faculty Senate President Dr. Cassie Williams (an
untenured assistant professor) on an email sent to Ms. Amanda Lewis, the LSUS Director of
Research and Sponsored Programs, in which he accused Dr. Williams of violating both policy
and the law. In the note, he observed in reference to Dr. Williams that “an assistant professor
who is violating both policy and law here is jeopardizing her very prospects for tenure”, Dr.
Williams filed a complaint with LSUS Human Resources, noting that Dr. Salvatore was
threatening to negatively influence her tenure process. This constitutes bullying of Dr.
Williams by Dr. Salvatore.

The HR investigative team reviewing both the Williams and Culpepper complaints concurred
with Mr. Culpepper and Dr. Williams that “based on the power differential between them and
Dr. Salvatore, his language was intimidating, hostile and threatening”. In their report, the
investigative team noted that Dr. Salvatore was “openly ‘hostile to the investigative team”,
accusing them of “illegal behavior” and referrmg to the complainants as “conspirators”.

On Sunday, October 29, 2023, Dr. Salvatore submitted an email report to the LSUS Police,
alleging that more than one thousand files were stoien or deleted from his university-issued
laptop computer. He alleged that this was done “by someone who was provided with the’
administrative security clearance to enter (his) laptop through the ‘administrator’ account and
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the network on which (his) computer was connected at the time.” Dr. Salvatore further alleged
that this was “not the first time that something like this” had occurred, further alleging without
evidence that then-University Police Chief Wray had “obstructed the investigation”.
University Police immediately initiated an investigation of the current complaint, ultimately
requesting Dr. Salvatore to submit his university-issued laptop computer to police, so that a
forensic analysis could be conducted. Dr. Salvatore declined to submit his computer for
analysis, however, precluding police from completing the investigation. Further, on the
morning of October 30, Dr. Salvatore spoke with an IT staffmember who he had run into while
the staff member was doing some technology maintenance in a classroom. He told the staff
member about the alleged theft of files and then accused Interim Vice Chancellor and CIO
Shelby Keith and. Provost Helen Taylor of being behind the theft. He then asked the staff
member to not tell anyone. The staff member was sufficiently concerned about this
conversation that he reported it to his supervisor, Interim Vice Chancellor and CIO Shelby

Keith.

13. On November 1, 2023, three liberal arts department chairs wrote to the Faculty Senate
President, their dean, the Provost and Chancellor to indicate that their faculty senators were
contemplating resignation from the Senate due to the “challenging and toxic atmosphere that
has unfortunately pervaded the Senate”, an atmosphere that has single-handedly been made
toxic by Dr, Salvatore. The chairs went on to say that in light of this, they “will not encourage
any of (their) faculty members to serve on the Faculty Senate until significant improvements
are mnade to the working environment and the overall atmosphere becomes more conducive to
productive and respectful discourse”. This extraordinary step is an indication of the extent to
which Dr. Salvatore has poisoned the environment in the Senate. His callous disregard for even
the most. basic level of propriety has thus seriously degraded the ability of the Faculty Senate
to function. Given the critical role of shared governance on a university campus, this is
intolerable.

It should be noted that these charges are not directed toward any exercise of free expression or
academic freedom on the part of Dr. Salvatore. LSUS acknowledges that faculty, including
Dr. Salvatore, have a First Amendment right to speak on matters of public concern. This right does
not extend, however, to making defamatory or false statements that cause reputational or other
harm, especially those made in the classroom or in the course of Dr. Salvatore’s official duties.
Further, the AAUP 1940 Statement on Principles on Academic Freedom and Tenure specifically
notes that faculty must be particularly mindful that when they speak publicly, noting: “As scholars
and educational officers, they should remember that the public may judge their profession and
their institution by their utterances. Hence, they should at all times be accurate, should exercise
appropriate restraint, should show respect for the opinions of others, and should make every effort
to indicate that they are not speaking for the institution.”

Previous Findings of Inappropriate Conduct and/or Actions

As part of this process, you have received three formal Letters of Reprimand (April 27, 2020;
January 24, 2021; May 17, 2023), a failed Faculty Grievance (May 11, 2021) during which 4
faculty committee found you responsible for “administrative noncompliance,” and a vote of
censure from the LSUS Faculty Senate (November 30, 2022), in addition to numerous emails
advising you of unprofessional misconduct (for example, “cease and desist” emails in April 2021
from the Provost).
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AAUP Statement on Procedural Standards in Faculty Dismissal Proceedings (Jan
1990)

The AAUP Statement on Procedural Standards in Faculty Dismissal Proceedings (Jan 1990)
supports the position of the University.

Jn the effective college, a dismissal proceeding involving a faculty member on tenure, or
one occurring during the term of an appointment, will be a rare exception, caused by
individual human weakness and not by an unhealthful setting. When it does come, hawever,
the college should be prepared for it, so that both institutional integrity and individual
human rights may be preserved during the process of resolving the trouble. The facuity
must be willing to recommend the dismissal of a colleague when necessary. By the same
token, presidents and governing boards must be willing to give full weight to a faculty
judgment favorable to a colleague.

The present statement assumes that individual institutions will have formulated their own
definitions of adequate cause for dismissal.

LSUS PS 2.19.02

Section II of LSUS Policy Statement 2.19.02 provides the definition of “cause” for
dismissal.

Cause is generally defined as “an impairment of the efficiency of the public service in
which the conduct in question bears a real and substantial relation ‘to the efficient and
orderly operation of the public service.” If the faculty member has been found responsible
for professional or personal misconduct such conduct may lead to dismissal for cause.

Process
Pursuant to LSUS Policy Statement 2.19.02, you have the following rights:

1. You have the right to respond to these charges in writing. The deadline for a response is
December 1, 2023.

2. Should you request it, a committee will be appointed to conduct a hearing at a specific time
and place to be determined. The deadline for the request is December 1, 2023.

3. You have the right to an advisor of your choice in this process. If you request a hearing,
you may also have legal counsel present at the hearing. However, neither the advisor nor
legal counsel may cross-examine witnesses or address the hearing committee. It is your

responsibility to arrange for an advisor.

Conclusion

Tenure is a fundamental right and responsibility, which guarantees academic freedom to faculty,
so that they may teach and research without hindrance or censorship. However, when faculty speak
or write as citizens, as in the case of your social media and other public observations, and when
they make and sustain false allegations, the reputation of the University and the public’s

confidence in it may suffer.
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The AAUP Statement on Principles of Academic Freedom and Tenure states the following:

If the administration of a college or university feels that a teacher has not observed the
admonitions of paragraph 3 of the section on Academic Freedom and believes that the
extramural utterances of the teacher have been such as to raise grave doubts concerning
the teacher’s fitness for his or her position, it may proceed to file charges under paragraph
4 of the section on Academic Tenure.

Paragraph 3 of the Statement, referred to above, indicates the limit for tenured faculty of speech
and writing. Paragraph 4 outlines Due Process of Termination for Cause, which aligns with LSUS
Policy 2.19.02 and LSU Board of Supervisors Bylaws (December 9, 2022) Article X, Sections 4
and 5.

Based upon the facts and policies previously discussed, I am recommending commencement of
faculty due process under LSUS Policy Statement 2.19.02 for the termination of your tenure and
ernployment at LSUS.

Respectfully,
7) ;

Robert T. Smith, Ph.D,
Chancellor
Professor of Mathematics

Ce: President Willtam Tate
Provost Helen Taylor

I acknowledge receipt of this document.

Dr. Brian Saivatore
